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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

GARRICK CALANDRO, AS                         :
ADMINISTRATOR OF THE ESTATE                  :
OF GENEVIEVE CALANDRO,                       :
                                             :
                      Plaintiff              :
                                             :
v.                                           :       NO. 1:15-cv-10533-PBS
                                             :
SEDGWICK CLAIMS MANAGEMENT                   :
SERVICES, INC.,                              :
                                             :
                      Defendant.             :

             PLAINTIFF’S POST-TRIAL PROPOSED FINDINGS OF FACT
                          AND CONCLUSIONS OF LAW



       A. INTRODUCTION

       These proposed post-trial findings of facts and conclusions of law are submitted at the

direction of the Court. Pre-Trial Conference Transcript at p. 7-8. On November 9, 2017, Plaintiff

filed Motion for Extension of Time to November 17, 2017 to File Proposed Findings of Fact and

Conclusions of Law. Having not heard from the Court, and in an abundance of caution, Plaintiff

submits and files the document contained herein.

       On April 25, 2017 this Court denied Defendant Sedgwick’s Motion for Summary

Judgment. Sedgwick claimed that it is not subject to chapter 176D because it is not in the

business of insurance and that, in any case, it made a prompt, fair, and equitable settlement offer

within the safe harbor provided by chapter 93A. In denying the Defendant’s motion, the Court

found that Sedgwick is in the business of insurance as a matter of law. The Court went on to

find that a reasonable fact finder could easily find that Defendant engaged in a willful and




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knowing pre-judgment violation of chapter 93A. What was left to be tried was whether these

acts of bad faith were willful or knowing.

       Additionally, the Court initially ruled that Sedgwick could not avail itself of the “safe

harbor” provision, finding that applying the provision would essentially eviscerate the 1989

amendment by failing to punish and deter pre-judgment misconduct (See Memorandum Order

April 25, 2017 at p. 12, Docket No. 86). However, on September 6, 2007, after extensive

briefing on the issue of due process, the Court reconsidered its “safe harbor” ruling and found

that Sedgwick’s $2,000,000.00 offer was reasonable. Sedgwick was allowed “safe harbor”

(Docket No.132).

       However, during a Final Pre-Trial Conference held on October 11, 2017, this Court

recognized that, in regards to the statutory language of G.L. c. 93A, § 9(3), “any fix will have to

come from the legislature, not the Court[,]” and that a trial would be necessary (Docket No.132

at P.6 & 8). The trial took place between October 30, 2017 and November 3, 2017, to determine

whether the acts of bad faith were willful or knowing.

                           PROPOSED FINDINGS AND CONCLUSIONS

       B. SUMMARY OF EVENTS

    1. Genevieve Calandro, the decedent in the underlying litigation to the instant matter, was

        a resident of a Danvers, Massachusetts nursing home, which was then owned and

        operated by five Radius Entities (Radius) (joint pre-trial memorandum stipulated fact

        No. 4). During the time that she was a resident of that facility, and while the said Radius

        location was unquestionably responsible for her care, protection, and safety, Ms.

        Calandro was the victim of serious, and reprehensible, neglect. The Administrator of

        Ms. Calandro’s Estate, Mr. Garrick Calandro, sued and alleged that the conduct and



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   inactions of Radius and its employees were responsible for injuries and damages

   suffered by Ms. Calandro and for her wrongful death.          Mr. Calandro’s Complaint

   alleged that Radius was directly and/or indirectly liable for: (1) conscious pain and

   suffering experienced by Ms. Calandro prior to her death; (2) the wrongful death of Ms.

   Calandro; and (3) gross negligence in Radius’ failure to properly care for Ms. Calandro.

   That action was filed on August 16th, 2011, against only the Radius Entities. The factual

   allegations contained in Mr. Calandro’s Complaint were characterized, in part, as the

   following:

         “while a resident of defendant’s nursing home plaintiff’s decedent developed a
         bed sore described as ‘coccyx wound draining moderate amount of purulent, foul
         smelling drainage.’ Bed sore got infected and substantially contributed to her
         death.”

  At the time of the filing of the lawsuit, Mr. Calandro, by his attorney, plead damages “in

  excess of $500,000.00.” (Marked for Identification C at Trial - Civil Action Cover Sheet

  and Complaint; Judicial Notice taken).


  Several months after the original Complaint had been filed with the Court, and served

  upon Radius, Dr. Wahl was added as a Defendant. Prior to trial, the claims asserted

  against Dr. Wahl were settled.



2. The underlying case went to trial in Middlesex County before the Honorable Peter

   Krupp on July 16, 2014. Ms. Calandro’s son, and also his wife, both testified during

   that trial. The Radius entities admitted that they:

         (1)     failed to follow each resident’s individual care plan by failing to keep Mrs.

                 Calandro properly hydrated;



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     (2)    failed to properly monitor Mrs. Calandro’s intake and output in

            accordance with her care plan, resulting in her severe dehydration and

            fecal impaction;

     (3)    failed to follow physician’s orders;

     (4)    failed to keep Mrs. Calandro properly hydrated;

     (5)    failed to properly monitor Mrs. Calandro’s intake and output in

            accordance with her care plan, resulting in severe dehydration and fecal

            impaction;

     (6)    failed to monitor residents for substantial changes in their conditions and

            properly notify Dr. Wahl her primary care physician of her deteriorating

            blood oxygen levels;

     (7)    failed to assess, diagnose, and treat in a timely manner Mrs. Calandro’s

            urinating tract infection, appendicitis, and decubitus ulcer, which is a

            pressure bed sore;

     (8)    failed to properly report lab results to physicians;

     (9)    failed to notify Dr. Wahl of the lab results published at 12:02 a.m. on July

            4th as ordered;

     (10)   failed to contact Dr. Wahl, M.D., as ordered, with the culture results which

            were published on July 6th;

     (11)   failed to notify the medical director of the facility or send the resident to

            the hospital if the resident’s condition worsened and the primary care

            physician is either unavailable or non-responsive;




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          (12)     failed to get the medical director involved or take independent action to

                   transfer Mrs. Calandro to the hospital faced with her symptoms of

                   infection, dehydration, and worsening pressure ulcer, dangerously elevated

                   glucose levels and no orders from Dr. Wahl for a four day period between

                   July 3rd and July 7th of 2008;

          (13)     failed to get the medical director involved or take independent action to

                   transport Mrs. Calandro to the hospital, when by July 10th Mrs. Calandro

                   had gone over a week with no antibiotics, no hospitalization, experienced

                   dangerously elevated blood glucose levels and received no specialized

                   wound care during that period;

          (14)     failed to keep accurate and complete documentation of important aspects

                   of the resident’s clinical condition as necessary for proper diagnosis and

                   treatment by failing to take the record, vital signs between July 3rd and

                   July 7th of 2008; and

          (15)     failed to properly maintain patient records as required by Massachusetts

                   and federal regulations.

  These admissions were read to the jury at trial. (marked for Identification ‘D’; Judicial

  Notice taken).



3. On July 21, 2014 a reasonable and impartial jury returned a verdict for the Plaintiff in

   the amount of $1,425,000.00 as compensatory damages, and returned a finding of gross

   negligence on their verdict slip. On July 22, 2014, the same impartial jury returned a

   verdict for the damages on the gross negligence claim in the amount of $12,514,605.00.



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   Judgment on these claims was entered on August 1, 2014 for $1,933,301.40,

   representing the compensatory damages, with interest and costs, and an additional

   $12,514,605.00 as the amount attributable to Radius’ gross negligence. The

   compensatory portion of that judgment, including interest, was later amended to reflect

   the $250,000 settlement paid by Dr. Wahl (Trial Exhibit No.64). No appeal was taken

   from this judgment.



4. The Hartford insured Radius.       The Hartford employed Radius as a third party

   administrator to stand in Hartford’s shoes to administer the claim against Radius. On

   July 31st, while Sedgwick was still in control of the claim as a third party administrator

   for Hartford, Radius’ defense counsel Lawrence Kenney, Jr. made a settlement offer in

   the amount of one million dollars ($1,000,000.00) based on the advice and

   recommendation given to Hartford by Sedgwick’s claims adjuster, Ms. Mary Blair (Trial

   Exhibit No. 57; note that Mary Blair and Sedgwick’s legal counsel, Peabody & Arnold

   are copied on this letter). This offer was made notwithstanding the fact that the jury had

   reached a compensatory damages verdict in the amount of $1,933,301.40 (including

   interests and costs) and a punitive damages verdict in the amount of $14,447,906.00.


5. On September 30, 2014, the Plaintiff sent a demand letter to Sedgwick, pursuant to G.L.

   c. 93A, § 9, alleging violations of G.L. c. 176D and G.L. c. 93A. (Joint Pre Trial

   Memorandum, Stipulated Fact No. 24) Sedgwick was first put on notice of alleged

   violations of G.L. c. 176D and G.L. c. 93A regarding its pre-judgment handling of the

   claim on April 8th, 2014, via letter by David Hoey, Plaintiff’s counsel (Trial Exhibit

   No.25).

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6. On October 30, 2014, after the judgment in the underlying case was final and no longer

   subject to appeal and, in response to the Plaintiff’s 93A demand letter, Sedgwick made

   an offer of $1,990,197.00 pursuant to the requirements of G.L. c. 93A, § 9(3) (Joint pre-

   trial memorandum stipulated fact No. 20).           This offer was later amended to

   $2,018,772.00 (Marked for Identification ‘E’; Plaintiff’s timeline).


7. On December 5, 2014, pursuant to a Settlement Agreement between Plaintiff and

   Hartford, Hartford paid the Plaintiff a total of $16 million in light of the judgment

   entered against its client Radius, which represented the full amount of the judgment plus

   an additional amount. (Joint Pre-Trial p. 4, Stipulated Fact No. 26). That Settlement

   Agreement expressly did not release Sedgwick from any potential outstanding liability.

   (Trial Exhibit No. 66; joint pre-trial memorandum stipulated fact No. 26).


8. Plaintiff rejected the $2,018,772.00 offer by Sedgwick, and on December 9, 2014 filed

   the instant lawsuit in Suffolk Superior Court, alleging knowing or willful unfair claims

   settlement practices and bad faith (Joint Pre-trial Memorandum, stipulated fact No. 29).

   Sedgwick subsequently removed the action to this Honorable Court.


9. The substantial sums awarded through the compensatory and punitive verdicts of the

   jury in the underlying action have no relevance in determining whether Sedgwick

   committed knowing or willful unfair claims settlement practices, and/or bad faith.

   Whether the Plaintiff has already received a substantial amount of money is similarly

   irrelevant. However, the amounts of the underlying verdicts have relevance solely to

   whether Sedgwick’s offers are reasonable and as a basis for the multiplication of



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   damages under c. 93A § 9(3). The jury has punished Radius for its conduct; Sedgwick,

   however, has not been punished for its conduct. Punishment of Sedgwick’s conduct is at

   issue here, and will be detailed below. Had Sedgwick settled, they would not be in this

   position.    A large verdict in the underlying case does not absolve Sedgwick from

   punishment for its involvement in any unlawful engagement in unfair claims settlement

   practices.


10. An award of $16 million in compensation and punishment for the death of a 91 year-old

   woman is not within the range of top awards granted in other nursing home cases across

   the country for this kind of neglect suffered by our most vulnerable community, the

   elderly. A $1,000,000.00 offer post-verdict against a judgment for $1,933,301.40 in

   compensatory damages simply cannot be deemed reasonable, much less can it be

   deemed reasonable against the verdict on all claims, then valued at $14,447,906,

   particularly considering the Defendant’s decision to not appeal. Neither can an offer of

   $2,018,772.00 against a final judgment of over $16 million be deemed reasonable. This

   is particularly so considering the size and wealth of the defendant Sedgwick, which has

   been in business since 1969 and is the largest third party administrator (hereinafter

   “TPA”) in the United States, valued at more than $2.4 billion. (Docket 131, Letter

   August 17, 2017). In Rhodes v. AIG Domestic Claims, Inc., 961 N.E. 2 1067 (Mass.

   2012) the defendant offered $7 million post judgment against a secured judgment of

   $11.3 million. Flatly, the trial judge labeled this offer as “insulting.” The Supreme

   Judicial Court affirmed, concluding that the plaintiff there was entitled to recover

   damages under G.L. c. 93A on account of the defendants’ post-judgment violation – i.e.,

   the insultingly-low post-judgment offer of settlement in relation to a much higher

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   judgment amount. The amount of money that has already been received by the Plaintiff

   here bears no relationship to the determination of fault against Sedgwick for engaging in

   unfair claims settlement practices. It is solely relevant for multiplication purposes upon

   a finding of a knowing or willful violation, or bad faith violation.



11. “c. 93A, s. 9(3) is “a ‘penal statute’ akin to other statutes designed to enforce the law by

   punishing offenders, rather than simply by enforcing restitution to those damaged.”

   Anderson v. National Union Fire Ins., 476 Mass. 377, 385 (2017).


12. “The Legislature’s manifest purpose” in enacting c. 93A was to deter misconduct,

   Commonwealth v. Fall River Motor Sales, Inc., supra at 316, and to “encourage

   vindictive lawsuits.”


13. Chapter 176D was “enacted to encourage settlement of insurance claims and to

   discourage insurers from forcing claimants into unnecessary litigation to obtain relief.”

   Bingham v. Supervalu, Inc., 806 F. 3rd 5, 9 (1st Cir. 2015), quoting Hopkins, 434 Mass.

   556.


14. To proceed against an insurer who has violated G.L. c. 176D, sec. 3(9), a plaintiff must

   bring a claim under G.L. c. 93A, sec. 9 or 11. Silva v. Steadfast Ins. Co., 87 Mass. App.

   Ct. 800, 803 (2015). Here, the Plaintiff has met this requirement (Joint pre-trial

   memorandum stipulated fact No. 24). A violation of G.L. c. 176D, sec. 3(9), itself

   establishes a per se violation of G.L. c. 93A. Boyle v. Zurich, 472 Mass. 649, 661

   (2015).




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15. On November 25, 2015, Hartford filed suit in New York against Sedgwick for negligent

   claim handling, indemnification, breach of contract, fiduciary duty, and mismanagement

   of the Calandro Estate’s claims against the Radius entities. Specifically, Hartford’s

   verified complaint asserts:


      a. Sedgwick did not reserve rights on behalf of The Hartford with respect to any
         issue and did not inform the Radius entities that the Policy did not cover the
         punitive damages alleged in the Calandro suit. Hartford Complaint at ¶ 33.

      b. On April 8, 2014, the Estate issued a joint demand of $1 million to the Radius
         Entities and the co-defendant. “I don’t care who pays, you or him or both,” the
         Estate’s Attorney wrote. Hartford Complaint at ¶ 47.

      c. Sedgwick failed to inform either The Hartford or the Radius Entities about the
         Estate’s new demand, despite the fact that it was a demand for the policy limit.
         Nevertheless, on April 26, 2014, at Sedgwick’s direction, attorney Kenney wrote
         to the Estate’s counsel, “Hartford is left with no alternative but to reject your most
         recent demand.” Hartford Complaint at ¶ 48.

      d. Sedgwick was aware, but failed to include in its July 7, 2014 email, that both of
         the Estate’s experts opined that the Radius entities’ neglect caused the death of
         Ms. Calandro. Hartford Complaint at ¶ 50.

      e. Neither Sedgwick’s July 7, 2014 email status report nor Kenney’s enclosed June
         30, 2014 pre-trial report addressed the Estate’s claim for punitive damages.
         Hartford Complaint at ¶ 54.

      f. Sedgwick never offered the $300,000 that the Hartford authorized to settle the
         Estate’s claims and never informed The Hartford of its failure to do so. Hartford
         Complaint at ¶ 56.

      g. On July 15, 2014, just before the trial was set to begin, the Estate’s attorney wrote
         to Kenney stating, “I have given three different demands with no offer from your
         client.” He asked for an offer to take to his client and stated, “Right now I have
         nothing to offer him. If Hartford’s re-evaluation is no pay, then let me know that
         too.” Sedgwick received the Estate’s attorney’s email to Kenney on that same
         date, yet Sedgwick never advised The Hartford or the Radius Entities of this
         communication. Hartford Complaint at ¶ 58.

      h. Moreover, despite Sedgwick’s July 7 representation that the Stipulation had been
         filed, it had not. At trial, a different stipulation containing numerous specific
         concessions of the Radius Entities’ breaches of the standard of nursing home care

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         was read to the jury (the “Trial Stipulation”), including that the Radius staff had
         “failed to take and record vital signs between July 3 and July 7, 2008, despite
         Genevieve Calandro’s clinically compromised condition: and had failed to take
         action despite Ms. Calandro’s worsening symptoms of ‘infection, dehydration,
         and worsening pressure ulcer, [and] dangerously elevated blood glucose levels.’”
         Hartford Complaint at ¶ 61.

      i. Sedgwick knew of the Stipulation and, later, the Trial Stipulation, and that a
         verdict against the Radius Entities was a virtual certainty. Hartford Complaint at
         ¶ 63.

      j. Sedgwick made no separate settlement offers for the Radius Entities after
         February 6, 2014, despite the fact that The Hartford had authorized $300,000 for
         settlement.
         Hartford Complaint at ¶ 64.

      k. Sedgwick’s failure to settle the case violated Massachusetts Law, which provides
         that failure to effect prompt, fair and equitable settlements in cases where liability
         is reasonably clear is an unfair claims practice prohibited by Section 3(9)(f) or
         G.L. 176D. A violation of this provision is a per se violation of the
         Massachusetts Consumer Protection Act, G.L. c.93A (“93A”), which can give rise
         to double and treble damages. ~ Hartford Complaint at ¶ 66.

               (Marked Identification B at trial; Judicial notice taken by the Court)


16. In determining the sufficiency of the Plaintiff’s case in the Court’s summary judgment

   Order, the Court outlined several facts that indicate bad faith on the part of Sedgwick.

   All of these facts were proven at trial, through the admitted documentary evidence and

   sworn testimony of the live witnesses.

         a. On August 16, 2013, Mary Blair informed Hartford that she was having
            trouble locating witnesses and a portion of Ms. Calandro’s medical chart. (p.
            12 of Summary Judgment Order and Trial Exhibit No. 4).

         b. On August 21, 2013, Ms. Blair discussed the pending claim on a call with
            Kenney. Ms. Blair’s handwritten notes from the phone call suggest Defendant
            was planning to withhold the identity of two nurses involved in the underlying
            wrongful death case because “of their conflicting versions and the lack of the
            incident report and internal investigation report.” (Docket No. 73, Ex. 15 and
            Trial Exhibit No. 1).




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     c. On November 13, 2013 Plaintiff made a second demand for $500,000. No
        immediate response was made to this demand. (p. 13 of Summary Judgment
        Order and Trial Exhibit No. 50).

     d. On December 20, 2013 Mary Blair sends email to CFO of Radius that liability
        is “problematic.” (Trial Exhibit No. 71).

     e. On January 14, 2014 codefendant doctor contacts Kenney concerning joint
        contribution. (Trial Exhibit No. 23).

     f. On January 30, 2014 Kenny responds via Mary Blair, suggesting a 50/50
        contribution. (Trial Exhibit No. 52).

     g. On February 7, 2014 Kenney’s trial analysis report stated, “defending this
        case on liability will be very difficult,” and estimated the likely verdict range
        to be $300,000-$500,000. (p. 13 of Summary Judgment Order and Trial
        Exhibit No. 51). Kenney specifically states, “We will likely have no choice
        but to admit liability and try the case solely on the issue of damages.” Page 4
        of Trial Exhibit No.51 (emphasis added). Attorney Kenney reiterated his
        opinion: “It is therefore very likely that we will be left with little alternative
        but to admit liability and accept a jury verdict on damages.” Page 5 of Trial
        Exhibit No. 51 (emphasis added)

     h. Mary Blair does not request any additional authority at this time (trial
        testimony Mary Blair P.2-62, Lines 2-4), although attorney Kenney
        undeniably concedes that is almost certain, a concession that unequivocally
        indicates that liability was reasonably clear for purposes of the statute (Trial
        Exhibit No.51, 13 & 27).

     i. On April 4, 2014 the Plaintiff received a copy of the Defendant’s insurance
        policy for the first time, which confirmed a policy limit of $1,000,000 per
        occurrence for covered claims. (Marked for Identification A.) Policy (Trial
        Exhibit No. 41).

     j. On April 8, 2014, in a written letter to defense counsel, Plaintiff made a
        demand for the $1,000,000 policy limit, informing Defendant’s counsel,
        “….that the adjusters here may not have all the information (or have not
        fully investigated these claims and the possible outcomes) and their offers
        may amount to unfair settlement practices (in violation of chapters 176D
        and 93A)…….[leaving the Plaintiff with] no choice but to include
        Sedgwick [in said claim] …” (Trial Exhibit No. 50). Plaintiff’s Counsel put
        a floor of $500,000.00 “If you and your clients truly would like to resolve this
        matter outside of trial, as chapter 176D requires, then I await a new, serious,
        and at the appropriate level (in excess of $500,000.00) offer by April 18,
        2014”. (Trial Exhibit No. 50). This policy limit demand was never forwarded



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             to the Hartford or the insured, nor was Sedgwick Legal put on notice (Trial
             testimony Mary Blair & Becky Shingleton).

          k. On July 7, 2014 Mary Blair requested an increase to $300,000 for the
             Calandro claim reserve, which Hartford authorizes. (Trial Exhibit No. 32).
             But, Mary Blair never offers it. (Trial testimony Mary Blair P.2-63, lines 22-
             24).

          l. On July 15, 2014 Mary Blair informs Hartford that she is, “not attending the
             hearing, don’t want to have settlement authority available.” (Trial Exhibit No.
             72). Mary Blair appearance at trial, according to observations made by
             Garrick Calandro, was that she seemed disinterested and bored; spent her time
             reading the Boston Herald (Trial testimony of Garrick Calandro P.27, Lines 8-
             15).

  In addition to the facts hereinabove, which demonstrate bad faith on the part of the

  Defendant in its handling of the Calandro claim and the existence of unfair claims

  settlement practices, additional, substantial evidence elicited at trial established

  Sedgwick’s engagement in unfair claims settlement practices in violation of 176D and

  G.L. c. 93A.


  C. SEDGWICK, AS A THIRD PARTY ADMINISTRATOR, IS IN THE
     BUSINESS OF INSURANCE FOR PURPOSES OF G.L. C. 176D

17. G.L. c. 176D, sec. 3(9), is applicable to third party administrators who are, as claims

   negotiator and potential settler, interposed between the insurer and the claimant. Miller

   v. Risk Mgmt. Foundation, 36 Mass. App. Ct. 411, 418 (1994).



18. Mary Blair was employed by Sedgwick at all times relevant to this action and was the

   Claims Manager for the Calandro case. She was employed until March 2017, when she

   retired. (Trial testimony Mary Blair P.2-24, Lines 1-8).




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19. Janie Hanna was employed by Sedgwick as Ms. Mary Blair’s manager during the

   relevant time period between 2011 and 2014. (Trial testimony Jane Hanna P.38, Line 3).


20. The Defendant is a third party administrator (hereinafter “TPA”) (Trial Transcript, p. 36

   at 3; testimony of Janie Hanna).      Sedgwick was hired by Hartford specifically to

   negotiate and settle claims on its behalf; Sedgwick’s role was clearly to interpose itself

   between the insurer and the claimant, and investigate and administer claims on behalf of

   The Hartford. (Trial Transcript, p. 36 at 3; testimony of Janie Hanna).


21. As a third party administrator, Sedgwick is engaged in the business of insurance. “It

   was hired by Hartford to negotiate and settle claims on its behalf, and its role was to

   interpose itself between the insurer and the claimant. As such, it is subject to Chapter

   176D” (Document 86, p. 17, Order of this Court on Summary Judgment.).


22. Furthermore, Mary Blair testified at trial that Sedgwick (as third party administrator)

   and she, herself (as claims adjuster assigned to the Calandro claim), step into the shoes

   of The Hartford, the insurer in this case.      Again, Sedgwick is in the business of

   insurance for purposes of Chapter 176D and Chapter 93A:

          Q:     And you in essence, when operating the Calandro file, are stepping into
                 the shoes of Hartford for negotiating, possibly settling, investigating,
                 adjusting, and managing that file, correct?

          A:     Yes.

  (Trial Transcript, p. 2-24 at 13-17)



23. Becky Shingleton was employed by The Hartford as a TPA consultant. Beginning in

   February of 2014, Ms. Shingleton was the liaison for The Hartford who communicated

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   with Sedgwick regarding the Calandro v. Radius claim that underlies this action. Ms.

   Shingleton was also the Rule 30(b)(6) representative designated to speak on behalf of

   the Hartford. Ms. Shingleton testified that Sedgwick, as a TPA to The Hartford, acted

   “like an independent adjuster”, whose responsibility was to control claims and to

   continue with the investigation of claims on behalf of Hartford and through its clients

   (Trial Exhibit No. 63, p. 28 at 15-24). Ms. Shingleton testified further that, “the role of

   the, of Sedgwick is to, not only investigate, but adjust and resolve the claim.” (Trial

   Exhibit No. 63, p. 53 at 9-11).

24. The Court has found that Sedgwick was engaged in the business of insurance for

   purposes of Chapter 176D and Chapter 93A, as a matter of law (Summary Judgement

   Order April 25, 2017, Docket No.86, P.16 & 17).



  D. SEDGWICK’S CONDUCT DURING ITS HANDLING OF THE CALANDRO
     CLAIM CONSTITUTED UNFAIR CLAIMS SETTLEMENT PRACTICES, IN
     VIOLATION OF CHAPTER 176D

  a. Chapter 176D – generally

25. “Chapter 176D was ‘enacted to encourage settlement of insurance claims and to

   discourage insurers from forcing claimants into unnecessary litigation to obtain relief.”

   Bingham v. Supervalu, Inc., 806 F. 3d 5, 9 (1st Cir. 2015), quoting Hopkins, 434 Mass.

   556 (2001).

26. G.L. Chapter 176D § 3 states, in pertinent part:


         The following are hereby defined as unfair methods of competition and unfair or
  deceptive acts or practices in the business of insurance:--

  …



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(9) Unfair claim settlement practices: An unfair claim settlement practice shall consist of
any of the following acts or omissions:

       (a)     Misrepresenting pertinent facts or insurance policy provisions relating to
               coverages at issue;

       (b)     Failing to acknowledge and act reasonably promptly upon
               communications with respect to claims arising under insurance policies;

       (c)     Failing to adopt and implement reasonable standards for the prompt
               investigation of claims arising under insurance policies;

       (d)     Refusing to pay claims without conducting a reasonable investigation
               based upon all available information;

       (e)     Failing to affirm or deny coverage of claims within a reasonable time after
               proof of loss statements have been completed;

       (f)     Failing to effectuate prompt, fair and equitable settlements of claims in
               which liability has become reasonably clear;

       (g)     Compelling insureds to institute litigation to recover amounts due under an
               insurance policy by offering substantially less than the amounts ultimately
               recovered in actions brought by such insureds;

       (h)     Attempting to settle a claim for less than the amount to which a reasonable
               man would have believed he was entitled by reference to written or printed
               advertising material accompanying or made part of an application;

       (i)     Attempting to settle claims on the basis of an application which was
               altered without notice to, or knowledge or consent of the insured;

       (j)     Making claims payments to insured or beneficiaries not accompanied by a
               statement setting forth the coverage under which payments are being
               made;

       (k)     Making known to insured or claimants a policy of appealing from
               arbitration awards in favor of insureds or claimants for the purpose of
               compelling them to accept settlements of compromises less than the
               amount awarded in arbitration;

       (l)     Delaying the investigation or payment of claims by requiring that an
               insured or claimant, or the physician of either, submit a preliminary claim
               report and then requiring the subsequent submission of formal proof of
               loss forms, both of which submissions contain substantially the same
               information;

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          (m)    Failing to settle claims promptly, where liability has become reasonably
                 clear, under one portion of the insurance policy coverage in order to
                 influence settlements under other portions of the insurance policy
                 coverage; or

          (n)    Failing to provide promptly a reasonable explanation of the basis in the
                 insurance policy in relation to the facts or applicable law for denial of a
                 claim or for the offer of a compromise settlement.

          …

  b. Sedgwick failed to effectuate a prompt, fair and equitable settlement of the
     Calandro claim after the liability of the insured (Radius) became reasonably
     clear or, at a minimum, after it became highly likely

27. For purposes of Chapter 176D, the duty to settle does not arise until liability is

   reasonably clear, or highly likely. Parker v. D’Avolio, 40 Mass. App. Ct. 394, 395-396

   (1996) (emphasis added).



28. The purpose of the statutory scheme of G.L. 176D is “not to require the insurer to extend

   an initial offer that must be accepted by the claimant but, rather, to initiate the process of

   settlement negotiations promptly and thereby facilitate out-of-court resolution.” Rhodes

   v. AIG, 78 Mass. App. Ct.299, 309 (2010), affirmed, 461 Mass. 486 (2012).


29. The test as to whether an insured’s liability is ‘reasonably clear’ or highly likely is

   objective. McLaughlin v. American States Ins., 90 Mass. App. Ct. 22, 29 (2016);

   O’Leary Alison v. Metropolitan Prop, 52 Mass. App. Ct. 214, 217 (2001). “An insurer

   is required to analyze the legal issues objectively to determine if liability and damages

   [are] reasonably clear and must ensure that no improper motivations color the decisions

   with respect to settlement.” Scott v. Vermont Mut. Ins., 2011 WL 4436984 at *7 (D.

   Mass. 2011) (Woodlock, J.) (internal quotations and citations omitted).

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30. Violations of G.L. c. 176D occur when an insurer has made a liability inquiry,

   determined that it is liable, and then fails to promptly effectuate an equitable settlement,

   or otherwise takes some further step to avoid making a settlement offering. Federal Ins.

   Co. v. HPSC, Inc., 480 F.3d 26, 36 (1st Cir. 2007).


31. Regarding the inquiry as to whether liability is “reasonably clear,” the question to be

   decided is whether a reasonable person, with knowledge of the facts and law, would

   probably have concluded, for good reason, that the insured was liable to the plaintiff.

   Demeo v. State Farm Mut. Auto Ins., 38 Mass. App. 955, 956-57 (1995); Nyer v.

   Winterthur Int’l, 290 F.3d 456, 461 (1st Cir. 2002).


32. For purposes of 176D, § 3(9)(f), liability encompasses both fault and damages. Clegg v.

   Butler, 424 Mass. 413, 421 (1997). Furthermore, good faith on the part of the insurer or

   adjuster requires that any settlement decision be made without regard to the policy limits

   and that the insurer exercise common prudence to discover the facts as to liability and

   damages upon which an intelligent decision may be based. First State v. Utica, 870

   F.Supp. 1168, 1175-76 (1994) (Stearns, J.), quoting Hartford v. New Hampshire, 417

   Mass. 115, 119 (1994).



33. A defendant bears the burden of proof that its settlement offer was reasonable and made

   in good faith, in light of the demand and attendant circumstances. Parker v. D’Avolio,

   40 Mass. App. Ct. 394, 395 (1996). Good faith requires that an insurer keep its insured

   informed of facts material to his exposure, including information relating to coverage

   and settlement negotiations. Peckham v. Continental Cas., 895F.2d 830, 834 (1990).

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   The possession of a plausible defense to a coverage claim does not automatically

   preclude a finding of Chapter 93A violation. The defense must be clearly articulated

   and asserted in good faith. Southern Worcester v. Utica Mut., 2010 WL 3222015 at

   *11 (D. Mass. 2010) (Saylor, J.) (emphasis added), citing Commercial Union Ins. v.

   Seven Provinces Ins. Co., 217 F.3d 33, 40-41 (1st Cir. 2000).



34. Since the time that Sedgwick was notified of the underlying Calandro claim, the

   evidence adduced at trial shows not only that Radius’ liability for the underlying

   Calandro claim [including damages] was reasonably clear or, at a minimum highly

   likely. Most importantly, the evidence also shows that Sedgwick and defense counsel

   both consistently and repeatedly interpreted Radius’ liability as being reasonably clear at

   various stages of the litigation.

35. Despite trial testimony indicating that internal documents of Sedwick did not include

   causation in their usage of the term ‘liability’, substantial, consistent documentary

   evidence renders those assertions unbelievable, as the documents consistently state and

   clearly establish that liability was considered a foregone conclusion, that the case could

   be defended on “damages only,” and that a verdict would be returned in an amount

   estimated at $300-500,000. The content of these documents are further supported by the

   consistent testimony of Mary Blair and Becky Shingleton at trial.

36. At trial, Sedgwick repeatedly attempted to obscure and obfuscate the common

   understanding for which elements of negligence are included in the definition of

   ‘liability.” When it was convenient for it to do so, Sedgwick argued that ‘liability’, as it

   had been understood and used by the Defendant itself and the defense counsel of the

   insured throughout the underlying claim, did not include causation. Even if the term is
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   so used at times in the industry, Sedwick’s own documents preclude any conclusion that

   it was used that way in Mr. Kenney’s own actual assessments of liability and in his

   discussions with Ms, Blair. For example, attorney Kenney disclosed to Sedgwick in his

   February 7, 2014 and his February 14, 2014 pre-trial reports and again in his June 30,

   2014 PRE-TRIAL REPORT AND TRIAL BUDGET that “the defense is extremely

   difficult….we will have no alternative but to concede liability and try the case on

   damages only. Defending this case on liability will be very difficult. We will likely

   have no choice but to admit liability and try the case solely on the issue of

   damages.” (Trial Exhibits No. 13, 27 and 51) (emphasis added). It was only after Mr.

   Kenney received Attorney Hoey’s April 8, 2014, letter putting Sedgwick on notice of a

   potential 93A/176D claim (Trial Exhibit No. 25) that Mr. Kenney first adopted, in an

   email from Mr. Kenney to Mr. Hoey on April 26, 2014, a formulation of “liability “ that

   excluded causation. (“[I]f necessary and at the appropriate time, stipulate and concede

   duty and a breach of the standard of care and try the case on proximate cause and

   damages only.”) (Trial Exhibit No. 24).



37. Although Sedgwick and Lawrence Kenney both used the term ‘liability’ in a consistent

   manner throughout the various letters, e-mails, and notes that were written from the time

   the Radius lawsuit was served to the Defendants in October 2011, at no time prior to

   April 8, 2014 did either Sedgwick or attorney Kenney ever indicate that causation was

   excluded from their definition of the word. Rather, up until a few weeks before the trial

   all of the references to Radius’ liability made by Mary Blair and attorney Kenney

   indicated that causation was, in fact, included in their usage of the word “liability.” Mr.



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   Kenney and Ms. Blair consistently communicated to Radius, Hartford, and Sedgwick

   that the sole function at trial of the Calandro claim would be contesting damages.

38. Notwithstanding attorney Kenney’s testimony at this trial that medical causation was

   always contested and never reasonably clear, Kenney had neither retained nor disclosed

   Dr. O’Malley until late May 2014. As the Defendant’s only expert opinion in this case,

   that the first source of any legitimate evidence contesting medical causation. Despite

   this late arrival of evidence,   in June of 2014 Larry Kenney still, yet again, took the

   position that the defendants “[l]ikely have no choice but to admit liability and try the

   case solely on the issue of damages.” That letter also stated:

         “We will have no alternative but to concede liability and try the case on
         damages only.”

         “Defending this case on liability will be very difficult.”

         “Likely have no choice but to admit liability and try the case solely on the
         issue of damages.”

         “Middlesex County generally recognized as one of the more Plaintiff friendly
         counties in Massachusetts.”

         “The Defense of the Radius Defendants is extremely difficult.”

   (Trial Exhibit No. 13: June 30, 2014).

  Again, this is even after he had received his expert opinion on medical causation in May

  2014. (Trial Exhibit No.75). Though attorney Kenney’s expert disclosure to opposing

  counsel could be seen as support for attorney Kenney’s claim at trial that he did not

  believe causation of Ms. Calandro’s death to be reasonably clear, this testimony is

  disturbingly undermined by the language contained in the above communication—a

  private, internal letter to Mary Blair, the claims adjuster and the only person in the

  position to obtain and authorize settlement authority. As of February 14, 2014, the

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  communications between Sedgwick and defense counsel confirm that their intention

  remained proceeding on damages only.


39. It was not until after attorney Kenney had received a letter written by attorney Hoey,

   dated April 8th, 2014 and which alleged potential violations of Chapter 176D and

   Chapter 93A, that either attorney Kenney or Mary Blair ever indicated to the Plaintiff or

   its counsel that they intended to defend the wrongful death action on medical causation

   in addition to damages.

40. Evidence indicating Radius’ liability on the Calandro claim can be seen as early as

   October 24, 2011, less than two weeks after the Complaint was served upon Radius.

   Phil Bistany, an independent investigator hired by attorney Kenney, wrote in his

   investigative report that “[m]y review of the patient file with Ms. Shaw and Ms.

   Picardy was basically in line with the allegations made by Atty. Hoey in his letter of

   October 12, 2011[,]” (Trial Exhibit No. 74 at p. 1) and on page two, Bistany reports:

                 “One problem is the fact that it appears that the results of lab work done
                 on July 9, 2008 were received at the insured facility the evening prior to
                 July 11, 2008; however, for some reason, they were not reported to the
                 attending physician promptly and as a matter of fact were not reported at
                 all prior to her departure to the hospital.”


      But, despite this, and well before any reasonable or thorough investigation had been

  completed, Kenney states in a letter to Plaintiff’s counsel: “Radius Danvers little choice

  but to vigorously defend this claim.”; “[s]poke with d/c before he wrote to p/c.” (Trial

  Exhibit No. 43 October 14, 2011).




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41. In a December 5, 2011 letter to Mary Blair, attorney Kenney remarks, in regard to

   plaintiff’s counsel, “if he is serious, this will be a time consuming and tough and

   expensive fight” and unusually dangerous. (Trial Exhibit No. 59 at p.3).


42. Next, in a handwritten document dated January 30, 2014, Mary Blair noted: “Co-Deft

   they have not been able to get an expert.” (Trial Exhibit No. 30) Radius also did not

   have any expert at that time. (Trial Exhibit No. 75). As previously mentioned, defense

   counsel did not obtain an opinion on medical causation from Dr. O’Malley until the last

   week of May, 2014. The co-defendant doctor’s difficulty in procuring an expert medical

   opinion severely undermines the claims made by attorney Kenney and Mary Blair at

   trial regarding their position that medical causation was never reasonably clear. Even

   when O’Malley’s opinion was finally produced, it was only 1 (one) page and

   significantly lacked evidentiary support, (Trial Exhibit No.75), notably weak in

   comparison to the Plaintiff’s factually-detailed, ten-page expert report. (Trial Exhibit

   No.79).


43. Shortly thereafter, in a letter dated February 7, 2014 from attorney Kenney to Mary

   Blair, Kenney made no mention of any plausible defense on medical causation; to the

   contrary, he clearly and unequivocally stated: (1) “[i]t is very likely if this case goes to

   trial that we will have no alternative but to concede liability and try the case on

   damages only.” (Trial Exhibit No. 51 at p. 3) (emphasis added) ; (2) “it is very likely

   if not assured that there will be an award against our insured at least and probably

   against both your insured’s and the defendant physician.” (Trial Exhibit No. 51 at

   p.5) (emphasis added); (3) “[i]t is therefore very likely that we will be left with little



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alternative but to admit liability and accept a jury verdict on damages.” (Trial Exhibit

No. 51 at p.5) (emphasis added); (4) “[d]efending this case on liability will be very

difficult (Exhibit 51 at p.4); (5) “[i]t appears that our only defense at this point, if

allowed, will be a reference to the chart by an expert who can opine as to compliance

with the standard of care. How effective that might be…is questionable. Before

[plaintiff’s attorney moves to default us on liability for failure to produce documents] we

will likely have no choice but to admit liability and try the case solely on the issue of

damages.” (Trial Exhibit No. 51 at p.4) (emphasis added) Although attorney Kenney

testified at trial that he had always disputed causation, and that causation was never

reasonably clear, and that he was never aware of the opinion of the Plaintiff’s expert

until April, 2014, that is belied by not only the evidence above, but by the fact that his

February 7, 2014 “PRE-TRIAL REPORT AND TRIAL REPORT” also expressly

acknowledges the substance of the opinion expected to be given at trial by the Plaintiff’s

expert: “[i]t is alleged by plaintiff’s expert that the staff at Radius Danvers failed…all of

which contributed to her death…” (Trial Exhibit No. 51 at p.4) Finally, attorney

Kenney’s own skepticism of the effectiveness of a medical causation defense is

glaringly apparent in the document; “including expert witness preparation (if allowed)

… I would anticipate that our expert’s fees, assuming that such testimony is permitted

…” (Trial Exhibit No. 51 at p.5) (emphasis added). Lastly, he puts a value, (Trial

Exhibit No. 51) “Assuming full liability, we would think that an award of $300,000.00

to $500,000.00 is possible.” Even the bottom estimate of liability was never offered in

settlement.




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44. The Court’s findings are supported further by portions of the trial testimony of Mary

   Blair and Becky Shingleton.      During a colloquy between the Court and Ms. Blair

   regarding Ms. Blair’s understanding of Radius’ liability in February of 2014, the Court

   asked clearly: “All right. So in February [2014] you decided, “[t]here’s no chance we’re

   going to win this,” either with respect to negligence or causation?” To which Ms.

   Blair unequivocally replied, “[y]es.” (Trial Transcript, p. 2-36 at 5-9) Ms. Shingleton

   was asked what her basis was for extending the settlement reserve to $300,000 several

   months later, even after attorney Kenney supposedly had gotten his expert’s opinion on

   medical causation but before trial,. Ms. Shingleton replied in part, credibly, “[w]e didn’t

   have any defenses on liability. I was told that we had no choice but to admit liability

   and try the case on damages…[t]hat was what I was, the information I was given from

   Sedgwick and defense counsel …” (Exhibit 63, p. 44 at 1-24) (emphasis added). Post-

   verdict, Shingleton voiced her concerns regarding her understanding of what had been

   communicated to her prior to trial, (Trial Exhibit 57, July 22, 2014) “How can we be hit

   so hard when we admitted liability and we were trying the case on damages only?”

   (Exhibit 57, July 22, 2014)


45. In sum, after considering the totality of evidence, especially in particular the internal

   documentary evidence, the Court cannot find attorney Kenney’s testimony at trial to be

   credible. The Court also finds, as a matter of law, Radius Defendants’ liability on both

   the conscious pain and suffering and the wrongful death claims was reasonably clear as

   of May 2013 when Plaintiff disclosed the detailed opinions of its medical experts in

   connection with the medical malpractice Tribunal. As evidenced by the documentary




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   evidence, liability was crystal clear to the Defendant and defense counsel by no later

   than February 7, 2014.

46. While no single factor is dispositive, factors important to whether the defendant was

   negligent in its handling of a claim include: the diligence of the investigation of the

   claimant’s claim; the reasonableness of the defendant’s assessment of the insured’s

   liability; the reasonableness of the defendant’s reliance (or failure to rely) on the advice

   of its counsel; whether a firm settlement demand within the primary limits was rejected;

   whether the defendant apprised the insured and the insurer of significant developments

   in the case and particularly of any settlement opportunities; whether the possibility of

   settlement was fairly and sufficiently explored; and whether any decision to resist

   settlement was motivated by the defendant’s self-interest rather than the interests of the

   insured. First State v. Utica, 870 F.Supp. 1168, 1175-76 (1994) (Stearns, J.) (emphasis

   added)


47. The inquiry of whether liability was “reasonably clear” may turn on what the insurer

   knew on the relevant date to warrant the complainant’s conclusion of reasonably clear

   liability. Chiulli v. Liberty Mut. Ins. 87 Mass. App. Ct. 229, 236 (2015); Van Dyke v.

   St. Paul Fire & Marine.


48. Importantly, an insurer’s statutory duty to make a prompt and fair settlement offer does

   not depend on the willingness of a claimant to accept such an offer. And, “a last minute

   offer does not cure a previous violation of Chapter 176D.” MT Baltic Commander

   Schiffahrtsgesellschaft MBH & Co. KG v. Massachusetts Port Authority, 918 F.Supp.2d

   105 (D.Mass.2013) (appeal dismissed). Thus, any evidence suggesting the Plaintiff’s


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   unwillingness to accept the communication of an offer or whether or not there was in

   fact an offer of $250,000 made on the final days preceding trial is simply irrelevant to

   whether Sedgwick engaged in unfair claims settlement practices as defined by chapter

   176D.



49. Several points of evidence lend substantial support to the likelihood that the defense

   counsel’s strategy of contesting medical causation was something which was conceived

   post hoc, after having received a 93A demand letter, in order to divert attention from the

   fact that Sedgwick and defense counsel had always understood liability to have been

   reasonably clear, as they themselves had consistently communicated in internal e-mails

   and letters. Only after receiving the April 8, 2014 letter alleging possible 93A/176D

   violations by Sedgwick did attorney Kenney changed his evaluation, and definition of

   liability.

  c. Sedgwick failed to conduct a reasonable investigation before denying the
     Calandro claim, in violation of G.L. c. 176D, § 3(9)(d). And, specifically, the
     defendants engaged in conduct intended to withhold witnesses from the
     plaintiff’s counsel. The act of withholding is a violation of 93A/176D. The acts or
     omissions that followed are not relevant. Specifically, including but not limited
     to when a motion to compel was filed or whether that motion ever got addressed
     by the trial court.


50. An insurer must conduct a reasonable investigation before denying a claim. Cytosol

   Laboratories, Inc. v. Federal Ins. Co., 536 F.Supp.2d 80, 94 (D. Mass, 2008) (Tauro, J.);

   G.L. c. 176D § 3(9)(d). Sedgwick alleges to have always intended from the outset to

   defend and the Calandro v. Radius claim on the issues of both causation and damages.

   Even if that were true, evidence demonstrates many failures to properly investigate the

   Calandro claim. This is especially true of Sedgwick’s failure to adequately explore its


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   purported medical causation defense, and particularly of its failure to engage any

   qualified expert to provide any opinion in support of its theory of a lack of medical

   causation defense until May 27th, 2014, 2 years 9 months after suit was filed and just

   weeks before trial. As such, and where medical causation was purportedly the defense

   counsel and Sedgwick’s main defense at trial, Sedgwick failed, as a matter of law, to

   promptly conduct a proper and reasonable investigation into the Calandro claim, thus

   failing to discharge its statutory duty and violating of G.L. c. 176D,         § 3(9)(d).

   Although there is evidence to suggest that defense counsel, Sedgwick, and thereby

   Hartford, first received notice of the Calandro claim at the time the Plaintiff filed its

   lawsuit on August 16, 2011, it is undisputed that, at the latest, Sedgwick became aware

   of the claim when it received service for the suit in the middle of October, 2011. At that

   time, Plaintiff’s initial settlement demand was $500,000.00 to the nursing home only

   (Trial Exhibit No.44 October 12, 2011).


51. Once service was made on Radius and its counsel, a private investigator named Phil

   Bistany was hired by attorney Kenney at the direction of Sedgwick’s adjuster, Mary

   Blair, to do a preliminary investigation into the Calandro claims. (Trial Exhibit No.45)

   Mr. Bistany provided his first report to attorney Kenney via a letter dated October 24,

   2011. (Trial Exhibit No.74) Notably, Bistany’s report notes that his “review of the

   patient file with Ms. Shaw and Ms. Picardy was basically in line with the allegations

   made by Atty. Hoey in his letter of October 12, 2011.” (Trial Exhibit No.74 at p. 1)

   Most importantly, Bistany’s report recommends that Ms. Calandro’s patient file and

   reports from Beverly Hospital and Cedar Glen, when located, “should be forwarded to

   an independent physician for review and opinion in response to the allegations made

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   by Atty. Hoey.” (Trial Exhibit No.74, at p. 6) (emphasis added) Nevertheless, the first

   date as to which there is any evidence suggesting that the Defendant actually consulted

   with a qualified expert regarding the medical likelihood of the wrongful death causation

   is May 27, 2014, less than two months before trial. (Trial Exhibit No.75).


52. At the absolute latest, Sedgwick and defense counsel received evidence supporting the

   Plaintiff’s theory of medical causation from Dr. Paul Genecin’s expert disclosure as part

   of the Plaintiff’s Offer of Proof prior to the May 1st, 2013 tribunal, nearly 15 months

   prior to trial (Trial Exhibit No.79).        This is further confirmed by Mary Blair’s

   handwritten note, dated April 25, 2013, “TRIBUNAL SCHEDULED FOR 5/1/13.

   PLTF’S OFFER OF PROOF GIVES SOME INSIGHT INTO THE PLTF THEORIES

   AND EXPERT REPORTS. EXPERTS – MEDICAL – GENECIN…AS PER D/C –

   LITIGATION CAN BEGIN” (Trial Exhibit No.8) Despite this, and likely in an attempt

   to justify his failure to promptly engage a medical expert, on numerous instances at trial

   attorney Kenney testified that Plaintiff’s counsel had not provided him with the opinion

   of the Plaintiff’s medical expert until May of 2014, nearly a year later:

  (1)    “And more importantly, Dr. O’Malley had provided me an opinion—keep in
         mind that I had not seen, been provided with a copy of the plaintiff’s expert
         opinion until sometime in early May, and within a few weeks—I had spoken to
         Dr. O’Malley prior to that to get his general sense of the case. And after I
         received the opinion from Mr. Hoey with respect to Dr. Jenison (sic), I forwarded
         that along with the records to Dr. O’Malley, . . . , and basically Dr. O’Malley said
         that there was no causal relationship from anything that was done that caused her
         death.” Trial Transcript, p. 3-36 at 12-22, testimony of Lawrence Kenney;

  (2)    Referring to his valuation of the case between $300,000 and $500,000 written in a
         pre-trial report by attorney Kenney himself on February 7, 2014 (Exhibit 51),
         attorney Kenney testified, “…and we hadn’t seen any expert reports by this time,
         so it was kind of shooting in the dark…” Trial Transcript, p. 3-43 at 18-19,
         testimony of Lawrence Kenney;



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  (3)    Attorney Kenney also testified, “[t]his is on Page 9 of an expert disclosure from
         Mr. Hoey. I think it was sent to me in May before the trial.” Trial Transcript, p.
         3-67 at 11-13, testimony of Lawrence Kenney; and

  (4)    Q: Now, when did you say you got the medical opinion from the plaintiff? It may
         be an exhibit; it may not.

         A: I saw it here someplace. It was in early May of 2014, approximately two and a
         half months before trial, something like that.

         Q: Up to that point, you didn’t even have an opinion from the plaintiff there was
         any causation?

         A: That’s correct.

         Trial Transcript, p. 3-97 at 17-24, testimony of Lawrence Kenney.


         Moreover, the report outlined the difficulties presented by the apparent sale of the

  facility, coupled by an inability to locate both records from the Radius facility and

  witnesses with knowledge of Ms. Calandro or the incident and who were still employed

  at the facility. (Trial Exhibit No.73 & 74) Mr. Bistany was, however, able to obtain the

  names of two nurses, though the nurses were no longer employed by the facility, and that

  “it appear[ed] that at least one or two of them have left under less than amicable

  circumstances.” (Trial Exhibit No. 73 & 74).


53. Subsequently, in his second report to attorney Kenney dated January 13, 2012, Bistany

   writes that he had been able to interview both nurses. (Trial Exhibit No. 73) Although

   the report indicates that the nurses versions of the story differed in slight respects, both

   witnesses recalled having a memory of the decedent, Ms. Calandro. Whelan, LPN “had

   some slight memory of Ms. Calandro and the incident of July 11, 2008” “Ms. Cribbs,

   LPN states that she recalls Ms. Calandro quite well.” (Trial Exhibit No. 73). One nurse,

   Ms. Whelan-Horne, provided detailed information regarding the circumstances of Ms.

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   Calandro’s fall; in fact, Ms. Whelan-Horne was the nurse who completed the Incident

   Report subsequent to the event in question—that Incident Report, however, was claimed

   to have not been located and was never produced in discovery.               Regarding the

   importance of Ms. Whelan-Horne’s account, Bistany noted: “[o]f great importance is the

   fact that Ms. Horne states that it was she herself who completed the Incident Report and

   she is absolutely positive that an Incident Report was completed by her at the time of the

   incident.” (Trial Exhibit No. 73 at p. 8) Ms. Whelan-Horne stated further that she was

   interested to see the Incident Report because it would refresh her memory as to whether

   Ms. Calandro was left on floor after the fall, among other details. (Trial Exhibit No. 73

   at p.8).



54. Trial Exhibit No. 5 which is an email between Mary Blair and Larry Kenney dated

   August 1, 2013, verifies the identity of two witnesses; Mary Cribbs, LPN, Gloucester,

   MA, and Jeane Whelan-Horne, Deerfield, NH. Mary Blair says to Larry Kenney:

          “these are 2 nurses… who he [Phil Bistany] spoke with in person” ; and

          “both were interviewed by Phil, did have recollection of Calandro…LPN
          [Whelan] says there was an investigation by former DON [Director of Nurses]”

55. At trial, and in spite of the facts contained in both of Bistany’s reports to him, attorney

   Kenney specifically testified that, “[Bistany] located two nurses and took statements

   from them, but they really didn’t have anything specific with respect to this particular

   resident. They remembered her but not very much more than that.” (Trial Transcript,

   p. 3-20 at 10-13, testimony of Lawrence Kenney) In light of the thoroughly-detailed

   documentary evidence above, this Court simply cannot find Lawrence Kenney’s

   testimony to be credible.

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56. Of the more egregious affirmative acts by Sedgwick to consciously, and intentionally

   delay settlement of the Calandro claim Mary Blair and attorney Kenney together decided

   to conceal the knowledge of the two nurse witnesses from the Plaintiff and its counsel.


57. In a document handwritten by Mary Blair dated August 21, 2013, and in reference to a

   conversation she had with defense counsel (“SPOKE WITH D/C”), Blair writes: “AS

   FAR AS THE TWO LPN’S ARE CONCERNED, WE DO NOT WANT TO OFFER

   THEM AS WITNESSES BECAUSE OF THEIR CONFLICTING VERSIONS AND

   THE LACK OF THE INCIDENT REPORT AND INTERNAL INVESTIGATION

   REPORT.” (Trial Exhibit No. 1, Mary Blair claims file note) Consistent with her

   written words, Blair testified at trial that she and attorney Kenney had jointly decided to

   conceal the identity of the nurses from the Plaintiff:

         THE COURT:              Do you know whether [the nurses] were then disclosed in
                                 any way in the litigation?

         THE WITNESS:            They were not disclosed.

         THE COURT:              Whose decision was that?

         THE WITNESS:            That was a joint decision by myself and Mr. Kenney.

  Although that testimony was consistent with her handwritten note in the claim file from

  August of 2013, any doubt as to whether Ms. Blair may have misspoken or

  misunderstood the question was unmistakably eliminated by her response to Plaintiff’s

  counsel shortly thereafter (Trial Transcript, p. 2-34 at 18-21, testimony of Mary Blair):


         Q:      And you mentioned that Mr. Kenney was in agreement with you to not
                 want to offer these two LPNs as witnesses in the case, correct?

         A:      Yes.

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58. Again, Mr. Kenney’s testimony at trial to the contrary is simply not credible.

          Q:      And let me ask you, was there ever a conscious decision on your part to
                  conceal the identities of these two witnesses?

          A:      No. No, absolutely not.

  (Trial Transcript, p. 3-22 at 5-7).



59. Although the Plaintiff requested, through interrogatories, the identity of any person

   having knowledge of the alleged events, attorney Kenney at no time provided the

   identity of the nurses to Plaintiff or its counsel. In fact, attorney Kenney stated the

   opposite to Plaintiff’s counsel in an August 21, 2013 letter (Trial Exhibit No. 2 at p. 2,

   letter to David Hoey):

          “To further complicate things none of the significant people who were employed
          at the facility in 2008 are still there, or have been there for some time, long before
          this discovery was served, including the administrator, who has changed several
          times and the DON. So getting anybody who knows anything has been and will
          continue to be a problem.”

  As additional justification for his failure to provide discovery responses in that same

  letter, and as he similarly testified to at this trial, attorney Kenney objected to the

  Plaintiff’s interrogatories on the grounds that their untimeliness was in violation of

  Superior Court Rule 30. However, Kenney appears to have deliberately misled Plaintiff’s

  counsel, by expressing some intention of providing further information in the future

  (Trial Exhibit No. 2 at p. 2, letter to David Hoey):


          “Because of that, I am forced to object to your interrogatories for the time being
          pursuant to Superior Court Rule 30 as untimely simply to allow time to sort the
          matter out. I intend to answer at least those related to the facility and the

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       administrator to the extent that I can, but it appears that such answers may
       ultimately solely be answered by reference to the records,
…
       We still have someone out trying to track down former employees. I’ll give you
       a call to discuss this further.”

Once again, attorney Kenney’s credibility is undermined by his live testimony at trial:

       Q:      Did you develop some kind of strategy to try to deal with [a potential
               default]?

       A:      Well, the answers to interrogatories I did because I objected to them, and I
               objected on a good-faith, legitimate basis; and if Mr. Hoey had done
               something to compel answers, then I would have dealt with that, but that
               never happened.

Not only did defense counsel never produce responses in good faith as he had indicated

to Plaintiff’s counsel, a motion to compel was filed with the Court by Mr. Hoey (Marked

for Identification at this Trial as Letter G is a copy of the Motion to Compel with the

Opposition by Attorney Kenney), and that the period for discovery was twice enlarged

by the Court, and with attorney Kenney’s agreement. (Trial Exhibit No. 76 Court’s Order

allowing Assented Motion to extend discovery to April 28, 2014). Plaintiff’s counsel

used his best efforts to obtain the information. The notion by defense counsel at trial that

he ultimately had a good-faith legal justification for his refusal to respond (a technicality)

is nothing more than a red herring, and is seriously overshadowed by the bad faith

demonstrated by counsel in his continued and overt attempts to induce the acquiescence

of Plaintiff’s counsel. During this whole time counsel had someone from Radius

available to him who was able to sign answers to interrogatories. (See Trial Exhibit No. 1

Mary Blair’s file note dated 8/21/13 “Spoke with D/C. He and Bistany went to Radius

Danvers and met with “Temporary Administrator” Steve Burke……Burke will sign Ints

and P/D.”



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60. In sum, the efforts by defense counsel and Ms. Blair to conceal the identity of the two

   nurses (with firsthand knowledge relevant to the claim) were made in bad faith, both

   objectively and subjectively, and also demonstrate yet further that liability was

   reasonably clear to Sedgwick and the defense counsel from a very early stage of the

   claim and litigation. For more than one reason, the Court notes that it is also deeply

   concerned with the propriety of this type of behavior from counsel with decades of

   experience, and who is a partner at a well-established insurance defense firm.



61. If an insurer has “a reasonable and good faith belief that it is not obligated to make a

   payment to a claimant” and takes active steps to resolve any dispute, it is not liable even

   if its action is “ultimately held to be based on a misinterpretation of the law.”

   FundQuest Inc. v. Travelers, 715 F.Supp.2d 202, 211 (D. Mass. 2010) (Stearns, J.)

   (emphasis added), quoting Premier Ins. Co. of Mass. v. Furtado, 428 Mass. 507, 510

   (1998). Factors relevant to whether an insurer’s investigation is reasonable include:

   “insurance industry practices in similar circumstances, expert testimony that the insurer

   violated sound claims practices, the defendant’s own evaluation of the plaintiff’s claim,

   and advice given to the insurance company on the probability of success at trial.”

   O’Leary-Alison v. Metropolitan Prop. & Cas. Ins. Co., 52 Mass. App. Ct. 214, 217 n. 3

   (2001).



62. “An insurer violates s. 3(9)(d) by purposefully and strategically failing to pursue a line

   of inquiry because it would uncover favorable evidence.” Capitol v. Higgins, 203




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   F.Supp.3d 200, 210 (D. Mass. 2016), quoting Bohn v. Vermont, 922 F. Supp. 2d 138,

   149 (D. Mass. 2013).



  d. $250,000 was not an offer for purposes of 93A/176D

63. Though it was hotly contested at trial, no offer of $250,000 was ever made to the

   claimant despite the Defendant’s duty to attempt to effectuate a prompt and reasonable

   settlement. Especially in light of the significant and numerous affirmative duties the

   Massachusetts legislature has placed upon insurers through chapter 176D, and although

   it is not dispositive to the resolution of this case.



64. Regarding the promptness of the $250,000 alleged to have been made in July 2014 by

   the Defendant on behalf of The Hartford and the insured, Mary Blair was unable to

   provide any reason during her testimony, much less any justifiable reason, as to why she

   and attorney Kenney waited so long to obtain authority in the amount of $250,000.

          THE COURT:              So that was in June you got – did you ask for the $250,000
                                  in early June?

          THE WITNESS:            No. I think it was in July.

          THE COURT:              So why did you wait so long?

          THE WITNESS:            Uhm…I don’t know. I can’t surmise right now.


  Attorney Kenney testified about his memory of a July 14th conversation with David

  Hoey, Plaintiff’s counsel: “[a]nd I said, ‘Mary Blair has $250,000 and she’s been trying

  to offer it to you.’” (Trial Transcript, p. 2-165 at 10) Though the choice of words alone

  indicates that Mary Blair had not yet been able to offer $250,000, and though Kenney



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claims to have himself made the offer of $250,000 in that very conversation, it is clear

that no offer was made and that Plaintiff’s counsel did not understand any offer to have

been made. In his e-mail to attorney Kenney the following day, July 15th, Plaintiff’s

counsel wrote, “[n]onetheless, I’ve given three different demands with no offer from your

client…I wanted to know if Mary/Hartford has an offer I can bring to my client that is

more than $250,000? Right now I have nothing to offer him.” (Trial Exhibit No. 37).

There was no testimony or evidence offered by the Defendant concerning any response or

reply by Mr. Kenney or by Ms. Blair to the email admitted as Trial Exhibit No. 37. Any

reasonable attorney who has made a settlement in an attempt to settle a case 3 days before

trial would certainly seek to eliminate perceived confusion after receiving a

communication from opposing counsel stating they have received “no offer from your

client[.]” A reasonable attorney would either correct the misimpression that there had

been no offer made and/or reiterate the existence of an offer. The failure of Mr. Kenney

to do either or register any other response to an affirmative statement that there was no

settlement bolsters the conclusion that Lawrence Kenney did not make any settlement

offer on July 14, 2014 or any other time. Rather, all he did was notify plaintiff’s counsel

that the adjuster, Mary Blair had $250,000 in authority.



In the same vein, Mr. Kenney testified that he overheard Ms. Blair attempt to make an

offer of settlement in a telephone conversation that took place on June 13, 2014 during

the mediation of a different that case that both were attending. (Transcript, P. 2-175, l. 3-

P. 2-176, l. 12). This testimony is not credible because it is contradicted by both Ms.

Blair’s testimony and the contemporaneous documentary evidence. Ms. Blair testified



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  that she did not obtain authority from Hartford to make any offer in excess of her

  standing authority until July, 2014. When asked by the Court why she waited so long, her

  response was “Uhm…I don’t know. I can’t surmise right now.” (Transcript, P. 2-122, l.

  16-25). Exhibit 32 is an email exchange between Ms. Blair and Ms. Shingleton.

  (SED01162-SED01164). Ms. Blair submitted a case summary on July 7, 2014, advising

  Ms. Shingleton for the first time that the defense was conceding liability at the trial

  scheduled for July 17 and that she would attempt to settle the case at a Court conference

  set for July 9. Ms. Blair ended this report with the following request: “Therefore, I

  recommend posting a reserve of $350K and proceeding the Court Conference this

  Wednesday with $300K in authority to attempt settlement.” Ms. Shingleton responded

  the following day, July 8, 2014 as follows: “Wow...unfortunately, I have nothing more

  profound to say. You are authorized to proceed as recommended. Please keep me closely

  advised.”



65. Lending further support to the conclusion that, in fact, no offer was extended to the

   Plaintiff by Mary Blair or attorney Kenney, Mary Blair had acknowledged on at least

   one prior occasion that the only offer ever extended to the Plaintiff was a joint offer with

   co-defendant Dr. Wahl of $275,000 (Radius contributing $125,000):

         Q:      Other than that joint offer, has any other offers on behalf of Sedgwick,
                 Hartford ever been made?

         A:      No.

         ….

         Q:      The only offer made, that one joint offer with Converys which was 275?

         A:      Yes.

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         Q:       That’s because that included your 125?

         A:       That’s right.

     (Mary Blair’s deposition testimony as Exhibit to the Opposition to Summary
  Judgment)


66. Finally, on July 16th Mary Blair asked The Hartford via an e-mail to Becky Shingleton,

   “(Do I still have $250K?)” (Trial Exhibit No. 57 at p. 5, July 15 e-mail from Mary Blair

   to Becky Shingleton) It simply defies all rational logic to believe that Mary Blair would

   actually be asking the insurer at this point in time whether she still has $250,000 if

   attorney Kenney had, in fact, himself offered the $250,000 on July 14th. In other words,

   it is difficult to imagine why Ms. Blair would be seeking assurances one day later that

   she still had the same authority in an amount that was allegedly already offered the day

   prior. In light of the above, the Court cannot find that an offer of $250,000 was ever

   extended to the Plaintiff by Sedgwick or The Hartford, on behalf of the Radius entities,

   the insured.



67. Even more damaging to the credibility of Mary Blair and Larry Kenney is when Mary

   Blair was communicating with her “manager” Jane Hanna and Jane Hanna and Mary

   Blair are discussing conversations they had with Jane Hanna’s manger Kathleen

   Conway were it is acknowledged that a concern of Conway’s was that Mary Blair

   “never made any offers.” Mary Blair never corrects the record or informs her managers

   that Larry Kenney made a $250,000 offer. This took place in October 1, 2014 just two

   and a half months after the verdict. Hanna to Blair:




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      “a bit concerned that you stipulated to liability of the case but did not seek the client’s
      approval before doing so…….plus you had $300K in authority and never made any
      offers.”

      Blair to Hanna
      “Yes I did stipulate to try case on damages only.”
      “I have never had a case go south like this one did and I certainly don’t want
      Sedgwick to pay anything.”

      Hanna to Blair
      “there will be lessons to learn from this. First and most importantly, don’t agree to
      anything without client approval, especially regarding stipulated liability. We will
      need to be able to pull out any documents, references or times we let them know and
      they either agreed or at least did not object…….I wouldn’t say anything to anyone
      and certainly keep things very professional between you and the Hartford.”


  e. Animosity towards Hoey

68. Evidence revealed a non-objective animosity toward Plaintiff’s counsel David Hoey.

   This lack of objectivity violated Sedgwick’s duty to adjust the claim. In Trial Exhibit

   No. 11,in a note from Mary Blair to Hartford on Sedgwick Claims letterhead ,Blair

   states “First notice was received on 10/21/11 from Law Office of David J. Hoey, who is

   a well-known, in Massachusetts for trying to ‘ring the bell’ on nursing home cases and

   to date has been unsuccessful.”


69. In Trial Exhibit No. 4 Mary Blair is communicating with Larry Kenney on October 12,
    2011. She writes “he continues to name Roush, etc. in spite of all your attempts to
    educate him. He will never change and because of this I will NEVER authorize
    accepting service for his office.” However, had she read the policy that applied she
    would have known that Roush & Associates, Inc. was a named additional insured under
    the policy and plaintiff’s counsel had a good faith basis for including them as a
    defendant. (Trial Exhibit No. 41 at Page SED00080)(emphasis in original)


70. On July 10, 2014 Larry Kenney writes to Mary Blair “Ha Ha Ha turn the table on
    Hoey.”

71. This is evidence that represents exactly what a TPA or insurer (Sedgwick) is not
    supposed to do. Furthermore, such departures from objectivity run contrary to

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   Sedgwick’s own written internal policies. (See Trial Exhibit 68 at page 4) (keep
   “personal reasons” out of the process).

  f. There is evidence of low-balling and Strong Arm Tactics

72. Early on, attorney Kenney recognized that the Calandro case wasn’t a normal, run of the

   mill nursing home case. He wrote On December 5, 2011 to Mary Blair that “this case is

   unusually dangerous even though the claim itself seems to be nothing more than a

   pretty ordinary nursing home liability case.”


73. Sedgwick realized that the case had significant value. “Efforts are being made to have

   Plaintiff return to his original demand of $500k globally.” Exhibit 8

74. Sedgwick conditioned its willingness to offer settlement on affirmative action from

   Plaintiff. “Mary is understandably reluctant to propose anything further unless and until

   we have clearer indication that it can get done at that level.” Exhibit 18

75. Sedgwick contemplated making a settlement offer reflecting only half of the lowest

   liability it projected for it and it’s co-defendant, knowing that it would individually

   liable for virtually all damages for conscious pain and suffering. “I was thinking of a

   joint $300k offer ($150k a piece) and see what David does.” Exhibit 23:

76. Sedgwick did not even contemplate making an offer that even approximated its own

   markedly low projection of liability. “She would be willing to contribute up to $200k if

   necessary but would prefer to start at something lower and see what Hoey’s response

   is.”

  g. There is evidence that Sedgwick sought to cover their tracks

      Exhibit 31: July 7, 2014 “We are conceding to liability for a breach of the standard of
      care and will try the case on the injury and causation issues.”




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      Exhibit 33 & 55: July 31, 2014 “In return for such payment we would require a full
      release of all claims or potential claims against the named defendants and all our their
      agents, servants, employees, insurers, parent or affiliated companies or persons,
      subsidiaries, predecessors, successors and all other persons of every kind and nature
      in the customary and usual manner.”

      Exhibit 49: April 17, 2014 “We intend to stipulate to fault on behalf of these
      corporations and to try this case solely on the issue of causation and damages.”

      Exhibit 56: July 25, 2014 “We want to lay the ground work for putting out the policy
      limits with a release. Although I doubt that plaintiff will accept the limits at this time,
      it will be a good protection for Hartford against the insured and plaintiff.”

      Exhibit 68: Sedgwick 93A and Sec. 176D training Page 29 “Add language to the
      release that releases Sedgwick for any and all claims arising out of the incident and
      the investigation in handling thereof.”

      Exhibit 78: October 1, 2014 Mary Blair to Jane Hanna “I have never had a case go
      south like this one did and I certainly don’t want Sedgwick to pay anything.”

      October 1, 2014 Jane Hanna to Mary Blair “there will be lessons to learn from this.
      First and most importantly, don’t agree to anything without client approval, especially
      regarding stipulation liability. We will need to be able to pull out any documents,
      references or times we let them know and they either agreed or at least did not object.
      I wouldn’t say anything to anyone and certainly keep things very professional
      between you and the Hartford.”

77. Sedgwick had some special reporting obligations to Hartford under their Agreement

   with Hartford. The Agreement specified certain “trigger events” which would require

   Sedgwick to submit notice by phone or email to Hartford within 24 hours of the event.

   These included:

         (4) “Alleged bad faith and extra contractual Claims, including Claims that (i)
         name The Hartford as a defendant; (ii) allege extra contractual causes of action;
         (iii) allege bad faith, negligent Claim handling, violation of an unfair claims
         practices act; or deceptive trace practices act; or any similar extra contractual
         Claim; or (iv) demand punitive damages.”
         …

         (7) Claims where there was a “potential verdict or loss exposure in excess of the
         Policy limit.”




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  78. In a letter sent to attorney Kenney, dated April 8, 2014, Plaintiff’s counsel put both

  Sedgwick and defense counsel on notice that their handling of the claim was in violation

  of chapter 176D and chapter 93A, remarking, “their offers may amount to unfair

  settlement practices (in violation of chapters 176D and 93A). This is not something I

  wish to pursue since I value my relationship with you and Mary, but I will certainly

  pursue it against Joe Pacheco, which will then leave me no choice but to include

  Sedgwick [and The Hartford.]” (Trial Exhibit No.25 at p.1: April 8, 2014 letter) “If you

  and your clients truly would like to resolve this matter outside of trial, as chapter

  176D requires, then I await a new, serious, and at the appropriate level (in excess of

  $500,000.00) offer by April 18, 2014.” (Trial Exhibit No.25 at P.2: April 8, 2014)

  (emphasis added)

  E. SEDWICK REMAINED INVOLVED AND ADVISED THE HARTFORD TO
     MAKE A $1 MILLION OFFER AGAINST A JUDGMENT FOR $1.9
     MILLION IN COMPENSATORY DAMAGES, WITH INTERESTS AND
     COSTS, AND A TOTAL VALUE OF $14.4 MILLION, INCLUDING
     PUNITIVE DAMAGES

78. On July 22, 2014, immediately after the gross negligence verdict, Becky Shingleton is

   asked Mary Blair “I need to know whether or not it is even possible for us to pay the

   $1M for a full release and be done with this?” (Trial Exhibit No. 57).


79. On July 23, 2014 Mary Blair responded to Becky Shingleton’s inquiry. “Before doing

   so, I need to know whether or not it is even possible for us to pay the $1M for a full

   release and be done with this? YES. We are fairly confident that it will come down to

   this and that this is the only way to fairly resolve this matter. The deciding factor as to

   whether this will occur rests with plaintiff and how much time and expense he wants to

   put into pursuing the judgment over policy limits.” Sedgwick was bargaining against the

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   costs of litigation, using transactions costs as a weapon against settlement value. This

   violates 176D and 93A. (Trial Exhibit No. 57)


80. On July 24, 2014 Becky Shingleton was communicating with her superiors based on

   information fed to her by Mary Blair. Becky Shingleton informed her superiors “The

   Hartford’s policy is $1,000,000.00, an appeal will be filed immediately in an attempt

   to achieve a result closer to what was originally anticipated.” Shingleton then emails

   Mary Blair and says “let’s get this one settled for a FULL and FINAL release of all

   claims within the policy limit so that this matter will be completely behind us!” (Trial

   Exhibit No. 34).



81. Then on July 31, 2014 Larry Kenney wrote to David Hoey, “I have been authorized to

   tender the full amount of the insurance coverage available to the Defendants in the

   above referenced matter in full settlement of your client’s claims.      The coverage

   available to the Defendants is $1,000,000.00.” (Trial Exhibit No’s: 33 & 55). Mary L.

   Blair mary.blair@sedgwickcms.com is copied on the offer letter. (see page two of Trial

   Exhibit No. 55; Sedgwick’s legal counsel, Peabody & Arnold, is also cc’d)



82. At the time this offer was made it was against a $1,425,000.00 compensatory exclusive

   of costs and interest and a gross negligence amount of $12,514,605.00. Judgment was

   entered the very next day for $1,933,301.40 compensatory with the interest and costs

   and the $12,514,605.00 for a total judgment of $14,447,906.00. As a matter of and law

   $1,000,000.00 is a bad faith offer, insulting in precisely the same as was the judgment

   involved in Rhodes. Also, this offer was not, in actuality, “the full amount of the

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   coverage available to the Defendants” as claimed by attorney Kenney’s letter, as the

   Hartford policy also provided coverage for (a) all costs taxed against the insured; and (b)

   postjudgment interest accrued on the full amount of the judgment up to the point that the

   insurer paid, offer to pay or tendered into court the full amount of the judgment that was

   within the applicable limits. (Exhibit 41).

83. Sedgwick’s decision to contest liability of causation of death was not made in good faith

   and both its decision and its failure to investigate and evaluate that issue violated 176D

   and 93A and unreasonably delayed settlement of the claim. Plaintiff was not required to

   prove that Radius’ negligence was the sole cause of death, rather, that the negligence

   was a substantial factor. Sedgwick and Kenney were holding the plaintiff to a higher

   standard of proof – an incorrect standard. Had they conducted an early investigation into

   Mrs. Calandro’s death, with an open and not a dismissive mind, and had they obtained

   an early expert opinion from a credible expert, and had they applied the correct standard

   they would have realized that acute renal failure was caused by her uro-sepsis and

   dehydration. Acute renal failure was a cause of death on her death certificate. They

   would have understood that her diabetes was under control up until she was neglected

   Radius. Diabetes Type 2 was a significant condition contributing to death. Her co-

   morbidities of Parkinsons, congestive heart failure, dementia, and diabetes were

   maintained without complication until she was neglected.



84. A seasoned attorney with 38 years experience and an experienced Adjuster who

   manages claims in 40 states all nursing home claims should have been able to put these




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   pieces of the puzzle together. They also should have acted according and as required by

   law to make a reasonable offer of settlement in a timely manner.

85. All this could have been determined early on in the case had they chosen to depose the

   doctor who filled out the death certificate. A death certificate is prima facie evidence of

   the facts recorded. G.L. c. 46 § 19.


86. Larry Kenney and Mary Blair went to trial on a defense that essentially was “we hurt

   her, but we didn’t kill her. She died of causes unrelated to our care.” That defense falls

   apart in a bad faith case because their own internal evaluation of the case exceeds the

   amount of any offer they ever made. Irrespective of whether they reasonably believed

   that they had a good causation defense to the wrongful death claim, their internal

   admissions of liability and the damages assessments pretrial belie the “causation”

   defense they have raised to show that their conduct was reasonable. They had a statutory

   duty to make a reasonable settlement offer in the portion of the case they believed was

   undefensible on liability and damages. They failed to satisfy that duty. Their own

   internal documents say so. This is bad faith.

87. Mary Blair’s case assessment to the insured in December, 2013 stated that liability was

   “problematic” and damages were assessed at $500,000.00. (Exhibit 71). Mr. Kenney’s

   Pre-Trial Report and Trial Budget of February 7, 2014 states “assuming full liability we

   would think that an award of $300,000 to $500,000 is possible.” (Exhibit 51). On July

   7, 2014 from Mary Blair told Becky Shingleton “we do not believe that a jury will

   award more than $500K + $200K interest for a total of $700K worst case scenario.

   Attempt to settle out separately on the best figure up to $300K. Therefore, I recommend

   posting a reserve of $350K and proceeding to Court Conference this Wednesday with

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    $300K in authority to attempt settlement. Let’s see what Plaitiff will do.” (Trial Exhibit

    No. 57 at p. 9 SED01368). For reasons to this day known only to herself, Ms. Blair

    never made this or any other settlement offer at trial.

88. She then states “I am not going to attend tomorrow’s motion hearing or the impaneling

    but I will however attend the trial proceedings. Plaintiff’s counsel has known me for

    many years and I do not want to be available with settlement authority (Do I still have

    $250K?) until after the trial starts.” (Trial Exhibit No. 36). These are acts of bad faith.

    Any action beyond the fact that the claims manager, Mary Blair, did not attend the

    hearing for the reasons set forth above, is irrelevant. Specifically but not limited to the

    fact that the claims adjuster attended the trial the next day and particularly in light of

    trial testimony that the observations of Mary Blair at trial were that she seemed bored,

    disinterested and occupied by reading the Boston Herald. ( Trial Testimony of Garry

    Calandro).

89. 93A and 176D impose duties on those in the business of insurance, like Sedgwick,

    unilaterally. These statutes impose no corresponding duties of the plaintiff. The

    legislature has required that parties in the business of insurance must act fairly, and to

    avoid and streamline litigation. Here, Sedgwick multiplied and prolonged litigation in

    violation of 176D and 93A.



   F. SEDGWICK’S POST JUDGMENT OFFER OF $2 MILLION WAS MADE IN
      BAD FAITH AND CANNOT BE DEEMED REASONABLE

The Court found Sedgwick’s post-judgment settlement offer of $1,990,197 in response to the

Chapter 93A demand letter was reasonable and therefore cabins its chapter 93A liability

under the safe harbor provision. Defendant’s argument rests on its view of section 9(3) that

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an offer is reasonably related to the “injury actually suffered”, if it reflects the plaintiff’s loss

of use of the money awarded. Because it made its offer within thirty days of receipt of the

demand letter, Defendant argues that its liability is limited to the amount offered.

    After judgment had entered against the Radius entities, but before the Plaintiff’s claim

    with Hartford was settled, Sedgwick had made an offer of settlement to the Plaintiff in

    the amount of $1,990,197.00. In light of the undisputable fact that this offer was made in

    comparison to a judgment in excess of $14 million, Sedgwick’s offer of $1,990,197.00 is

    unreasonable, as matter of both law and fact.

90. Plaintiff responds that if an insurer commits a willful or knowing Chapter 93A violation

either pre- or post-judgment, it is liable for damages calculated by multiplying the amount of

the full judgment in the underlying litigation, not by calculating the injury actually suffered

under the loss-of-use of money standard. The underlying judgment, he argues, is the

benchmark for evaluating the reasonableness of the settlement offer in the separate Chapter

93A litigation. Thus, in his view, the safe harbor protects Defendant only if it offered the full

amount of the underlying judgment of $14 million.



91. Defendant’s argument presents a novel question. In this case, judgment entered in the

underlying litigation, thus triggering the 1989 amendment. As such, in the typical case

involving insurers’ unfair settlement practices, “actual damages” are “taken to be the amount

of the judgment for the purpose of the bad faith multiplication.” R.W. Granger & Sons v.

J&S Insulation, Inc., 754 N.E.2d 668, 682 (Mass. 2001). Defendant argues that it is entitled

to the more limited loss of-use-of money measure of damages because it offered a settlement

within the statutory safe harbor of thirty days of the demand post-judgment which provides a



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separate standard for evaluating “injury actually suffered.” However, that interpretation

would essentially vitiate the 1989 amendment to the same statutory section by failing to

punish an insurer for pre-judgment misconduct in claims settlement practices. It is also

inconsistent with the holdings in Rhodes and Auto Flat that the actual injury suffered for the

purpose of calculating damages post-judgment is taken to be the amount of the judgment. If

Defendant’s interpretation were correct, insurers could engage in egregious claims settlement

practices and simply wait until after judgment to offer the amount of judgment plus interest.

Thus an insurer would have an incentive to delay settlement to force a claimant to take a

lower offer. Here Defendant cites no cases that the settlement offered in the “safe harbor”

must be reasonable under a loss-of-use standard measure once judgment has entered. That

said, even though the judgment is the appropriate benchmark, it is unclear whether in the safe

harbor period an insurer need only offer the portion of the judgment that reflects

compensatory damages, costs, and interest. Must the offer also include the punitive damages

portion of the judgment? That issue is addressed next.



92. The appropriate amount of the judgment to be used for safe harbor and damages

computation purposes.


   §9(3) states in relevant part:

   “Any person receiving such a demand for relief who, within thirty days of the mailing or

   delivery of the demand for relief, makes a written tender of settlement which is rejected

   by the claimant may, in any subsequent action, file the written tender and an affidavit

   concerning its rejection and thereby limit any recovery to the relief tendered if the court

   finds that the relief tendered was reasonable in relation to the injury actually suffered by

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  the petitioner. In all other cases, if the court finds for the petitioner, recovery shall be in

  the amount of actual damages or twenty-five dollars, whichever is greater; or up to three

  but not less than two times such amount if the court finds that the use or employment of

  the act or practice was a willful or knowing violation of said section two or that the

  refusal to grant relief upon demand was made in bad faith with knowledge or reason to

  know that the act or practice complained of violated said section two. For the purposes of

  this chapter, the amount of actual damages to be multiplied by the court shall be the

  amount of the judgment on all claims arising out of the same and underlying transaction

  or occurrence, regardless of the existence or non-existence of insurance coverage

  available in payment of the claim.”



  G. THE SAFE HARBOR PROVISIONS OF CHAPTER 93A § 9

   93. The Court found Sedgwick’s post-judgment settlement offer of $1,990,197 in

   response to the Chapter 93A demand letter was reasonable and therefore cabins its

   chapter 93A liability under the safe harbor provision. The Court now recosiders and

   reverses its interlocutory ruling.

94. The damages subject to multiplication in a 93A action are “taken to be the amount of the

[underlying] judgment.” R.W. Granger & Sons v. J&S Insulation, Inc., 754 N.E.2d 668, 682

(Mass. 2001). Defendant argues that it is entitled to the more limited loss of-use-of money

measure of damages because it offered a settlement within the statutory safe harbor of thirty

days of the demand post-judgment which provides a separate standard for evaluating “injury

actually suffered.” That interpretation is inconsistent with the holdings in Rhodes and Auto

Flat that the actual injury suffered for the purpose of calculating damages post-judgment is



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taken to be the amount of the judgment. If Defendant’s interpretation were correct, insurers

could engage in egregious claims settlement practices and simply wait until after judgment

to offer the amount of judgment plus interest. Thus an insurer would have an incentive to

delay settlement to force a claimant to take a lower offer. Here Defendant cites no cases that

the settlement offered in the “safe harbor” must be reasonable under a loss-of-use standard

measure once judgment has entered.



95. Similarly, in Clegg v. Butler, 424 Mass. 413, 676 N.E.2d 1134 (1997), the Court ruled

that a settlement for policy limits was not a ‘judgment’ for purposes of applying a multiplier

under § 9(3). However, the Court’s, and the Defendant’s, reliance with Clegg during the

summary judgment stage of the proceedings is misplaced for two reasons: first, Clegg is a

case in which there was no judgment, only a settlement, and as such the court had to use the

“costs and expenses directly resulting from the insurer’s conduct.” There was no other

measure. That is not the case here and, second, there is a canon of statutory interpretation

that suggests that a later provision prevails over an earlier one. The clear provisions of the

1989 amendment should prevail.



96. Black’s law dictionary defines judgment as used in the sense of an act by a Court

as follows: “The official and authentic decision of a court of justice upon the

respective rights and claims of the parties to an action or suit therein litigated and

submitted to its determination.” This definition obviously encompasses both the

compensatory and punitive damages verdicts in the underlying case. There was but a




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single judgment entered and it included both compensatory and punitive damages

components.

97. The specific language used by the Legislature in §9(3) also lends support to the

conclusion that the word judgment includes both compensatory and punitive

damages components if present. The Legislature specifically included the phrase

“the amount of the judgment on all claims” (emphasis supplied). The Legislature

was certainly cognizant of the fact that some claims which an insurer might be called

upon to adjust would include a punitive damages component. If the Legislature

intended to exclude punitive damages from the amount of the judgment to be utilized

in computing either a safe harbor offer or the multiplier for the bad faith unfair

settlement practices, it would have been a simple matter to do so. Instead the

Legislature did the opposite, using the inclusive “all claims” language. This

conclusion is further reinforced by the Legislature specifically providing that the

nonexistence of insurance coverage available for payment of the claim did not

constitute a defense when the unfair settlement practices had resulted in a judgment.

The Court therefore concludes that in order to take advantage of the safe harbor

provision, Sedgwick was required to offer the full amount of the final, non-

appealable judgment, including both compensatory and punitive damages. The

failure to do so means the offer of the compensatory damages with pre and post

judgment interest was insufficient to be a defense..

98. There is ample evidence that the Sedgwick engaged in a willful and knowing

pre-judgment and post judgment violations of Chapter 93A and the Court so finds.

This evidence was recited a length above and need not be repeated in detail here.



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Suffice it to say that over a lengthy course of litigation, Sedgwick never even offered

their own internal best case scenario level of damages in an effort to settle the case.

It recognized almost from the outset that the Calandro claim was not defensible and

that a recovery against Radius was a near certainty. They also very quickly came to

the conclusion that the probable level of damages had a floor of $300,000.00 plus an

additional 35% for pre-judgment interest yet they never made a settlement offer that

was sufficient to reach this floor. They even told the insured Radius 19 months

before trial that the probable level of recovery in the case was $500,000.00 at a time

when the Plaintiff was demanding precisely that amount to settle the case. Even

when Sedgwick obtained authority from Hartford to offer $300,000.00 on the eve of

trial to settle the claim, it made no offer of settlement. Liability was “reasonably

clear” where the insurer’s own assessment of the likelihood of recovery and the

amount of that recovery was exactly the same as the amount of the demand made by

the claimant. The conclusion is inescapable that Sedgwick was engaged in a willful

and knowing violation pre-judgment violation for purposes of Chapter 93A. No

reasonable insurer or TPA would have failed to settle the Calandro claim within the

policy limits.



99. Sedgwick additionally engaged in a willful and knowing post judgment violation. On

July 31, 2014, Mr. Kenney tendered an offer for $1,000,000.00 which was represented in the

offer to be “the full amount of the insurance coverage available to the defendants….” GL c.

176D, § 3(9)(a) makes is an unfair settlement practice to “(a) Misrepresent[ing] pertinent

facts or insurance policy provisions relating to coverages at issue;…” (emphasis added)



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That sum did not in fact represent the full amount of insurance coverage available to Radius

because the policy also covered costs included in any judgment and post judgment interest

even to the extent those sums were in excess of the limits of liability. This is not a situation

like Silva v. Norfolk & Dedham Mutual Fire Insurance Company, 91 Mass. App. Ct. 413,

2017 Mass. App. LEXIS 48 (Mass. App. 2017) where the claim was that the failure to offer

interest in addition to the amount of the judgment was a violation. It is not the failure to

offer interest but the representation that it was not covered by the policy that makes the

conduct a violation of the law. Likewise, this conduct was under the circumstances was a

willful and knowing violation when it is considered the tender was planned and prepared by

both an experienced and knowledgeable adjustor with the assistance of counsel.



100. Additionally, in making this tender, more than just a release of the Radius defendants

was requested. A release of Sedgwick and Hartford was also a condition for payment of

these funds. In making this a condition of payment, Sedgwick was engaged in an unfair or

deceptive act or practice under G. L. c. 93A. Sterlin v. Commerce Insurance Company, 25

Mass. L. Rep. 124; 2009 Mass. Super. LEXIS 17 (2009). (see also Bertassi v. Allstate Ins.

Co., 402 Mass. 366, 370-371 (1988) (insured’s insistence that its insured execute an

agreement protecting the insurer’s subrogation rights as a condition to the insurer’s payment

of under insurance benefits to him violated G.L. c. 93A, where the policies did not require

any such agreement); Bithoney v. Pilgrim Ins. Co., 20 Mass. L. Rep. 372 (Mass. Super.

2006) (Troy, J.) (the insurer's failure to eliminate unwarranted and misleading “settlement”

language or to advise the injured person, in response to two letters, to disregard that

language, violated Mass. Gen. Laws ch. 176D, § 3(9)(f).



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101. The conduct of Sedgwick with respect to Calandro claim is precisely the type of

conduct the Legislature intended to put an end to by enacting the penalty provisions in 1989.

Sedgwick subverted the administration of justice by conspiring to fail to disclose material

witnesses. Sedgwick wasted the resources of the Calandro family – and caused them great

pain - by forcing them to pursue litigation through judgment on a case that clearly could

and should have been settled without the necessity of a trial. They similarly wasted scarce

judicial resources for the same reason. They put at risk the assets of both Hartford and

Radius to the tune of millions of dollars. Their conduct deserves the full measure of

punishment that the law allows. (See Anderson v. American International Group, Inc., 2014

WL 187882 (Mass. Super. April 8, 2014), affd. 88 Mass. App. Ct. 1117, WL 9263925

(2015), vacated, 476 Mass. 377, 67 N.E.3d 1232 (2017)). The conduct of Sedgwick in this

case was “so gross or obvious” that the fact-finder reasonably can infer wrongdoing based

upon his or her “common knowledge”. Herbert A. Sullivan, Inc. v. Utica Mut. Ins. Co. 439

Mass. 387; 788 N.E.2d 522 (2003)



  H. THE APPROPRIATE LEVEL OF DAMAGES.

102. The Court finds that Sedgwick has waived any defense that Chapter 93A is

unconstitutional as applied under the circumstances of this case by the failure to raise that

claim as an affirmative defense at any time during the pendency of the case. This finding is

amply supported by precedent in this Circuit requiring that defenses in mitigation of the

damages claimed by affirmatively pled in a responsive pleading. Jakobsen v. Massachusetts

Port Authority, 520 F.2d 810 (1st Cir. 1975) (failure to plead state statute capping damages

as an affirmative defense waived benefit of statute); Knapp Shoes, Inc. v. Sylvania Shoe



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Mfg. Corp., 15 F.3d 1222 (1st Cir. 1994), (failure to raise statutory limitation of remedies

defense was waiver of the defense); Society of the Holy Transfiguration Monastery, Inc. v.

Gregory, 689 F.3d 29 (1st Cir. 2012) (failure to raise statutory defenses prior to summary

judgment motion was waiver of those defenses).



103. First, the Legislature has declared that the measure of actual damages for a willful and

knowing violation which resulted in entry of judgment in the underlying case is the full

amount of the judgment on all claims. This legislative judgment is a reasonable measure of

actual damages for unfair settlement practices. It clearly represents a reasonable measure of

the loss that occurs when a carrier exposes its insured to a judgment in excess of the

insureds limits of liability. It similarly represents a reasonable measure of the loss that

occurs when a third party administrator exposes either the insured or the insurer to a

judgment in excess of policy limits through unfair settlement activity. In either of those

events, regardless of whether a portion of the excess judgment is composed of punitive

damages or some other type of damages, the nature of the excess damages is irrelevant to

the loss sustained which is simply payment of money that might have been avoided

appropriately handling the adjusting of the claim. It is therefore a reasonable legislative

judgment to state simply that in all situations where willful unfair settlement practices have

taken place that result in the entry of judgment, the amount of the judgment is the measure

of actual damages in a subsequent action against the insurer for unfair settlement practices.

It really is of no consequence in punishing the insurer or third party administrator in a

subsequent bad faith action whether those excess damages represent special damages

incurred by plaintiff, intangible damages incurred by plaintiff or punitive damages. The



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point is that it was the wrongful conduct by the insurer and/or TPA which caused that

judgment to come to pass in the first instance. If that entity had performed as required by

law, the case would have potentially been settled.



104. Secondly, it bears noting that Sedgwick was not a defendant in the underlying case and

had no liability in that case for payment of any of the judgment, whether it be actual

damages or punitive damages. For Sedgwick to suggest that they are somehow being

subjected to a double penalty in violation of their due process rights is simply not accurate.

Sedgwick has yet to pay any sums arising out its handling of the Calandro claim. Sedgwick

is not being punished for the conduct of Radius, it is being penalized for its willful

misconduct in adjusting the Calandro’s claim. In the underlying case it was the Radius

entities who were punished for their gross negligence in their lack of caring for Mr.

Calandro’s mother and causing her death.



105. Therefore, there is no impediment to imposing a multiplier of the judgment in the

underlying case of up to three but not less than two times the full amount of the judgment

entered against Radius including the punitive damages component.



106. As with many aspects of this case, there is little in the way of appellate court guidance

from the Massachusetts state courts. In Rhodes v. AIG Domestic Claims, Inc., 461 Mass.

486; 961 N.E.2d 1067 (2012) the Supreme Judicial Court affirmed a judgment by the Trial

Court which employed the minimum multiplier of 2 where the Trial Court found that the

TPA’s conduct pre-judgment was not in violation of the statute but it’s post judgment



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    conduct did violate the statute. When the case reached the SJC, that Court assumed without

    deciding that the Trial Court correctly determined the issues regarding pre-judgment

    violation. It was not necessary to decide whether that question was correctly decided

    because the Trial Court did find a post-judgment violation and the Plaintiff would not in any

    event be entitled to a double recovery for both pre-judgment and post judgment violation.



    107. The post-judgment violation in Rhodes consisted of the failure of the carrier and TPA

    to make a reasonable settlement offer to pay a judgment entered in the case on September

    28, 2004 until June 2, 2005 and during which time the defendant/carrier/TPA was pursuing

    post judgment remedies in both the trial and appellate courts. There was an initial post

    judgment settlement offer made which the Trial Court in the subsequent bad faith case

    termed as "not only unreasonable, but insulting." From this factual finding, the SJC reversed

    a damages computation based on loss of use of funds with a multiplier of 2 as found by the

    Trial Court and ordered entry judgment in two times the amount of the jury verdict in the

    underlying case. Is so ordering the Rhodes Court stated the following which is equally

    applicable to the present situation:

               “We recognize that $22 million in c. 93A damages is an enormous sum,
      but the language and history of the 1989 amendment to c. 93A leave no option but
      to calculate the award of double damages against AIGDC based on the amount of
      the underlying tort judgment. The Legislature may wish to consider expanding the
      range of permissible punitive damages to be awarded for knowing or wilful
      violations of the statute to include more than single, but less than double,
      damages; or developing a special measure of punitive damages to be applied in
      unfair claim settlement practice cases brought under c. 176D, § 3 (9), and c. 93A
      that is different from the measure used in other types of c. 93A actions.”

      In the ensuing five years since Rhodes was decided, the Legislature has chosen to leave

the language c. 93A alone. This presumably represents a legislative judgment that they are



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satisfied with the damages classifications that have been drawn for punishing willful unfair

settlement practices.



108. The second instructive case on the appropriate multiplier is Anderson v. American

International Group, Inc., 2014 WL 187882 (Mass. Super. April 8, 2014), affd. 88 Mass. App.

Ct. 1117, WL 9263925 (2015), vacated, 476 Mass. 377, 67 N.E.3d 1232 (2017). Anderson is

much more analogous to what transpired with the Calandro claim than is Rhodes. In Anderson

the Trial Court’s factual findings regarding unfair settlement practices were that the insurer

failed to “conduct a reasonable investigation … based on all available evidence,” including by

suppressing unfavorable evidence and offering fictitious evidence; failing to “effectuate prompt,

fair and equitable settlement of claims in which liability … ha[d] become reasonably clear”; and

pursuing an unreasonable appeal of the underlying personal injury judgment.” Based upon these

findings, the Trial Court stated the “maximum available sanction” was warranted. The Court

therefore imposed damages in the amount of three times the judgment in the underlying personal

injury case including trebling the post-judgment interest which had accrued on the judgment. On

appeal, the Appeals Court affirmed the judgment in all respects. The Supreme Judicial Court

then granted review limited to a single issue-whether post judgment interest was subject to being

multiplied in the unfair settlement practices case. The Court ruled it was not. In all other

respects, including the treble damages, the Supreme Judicial Court left the judgment in place.

Given the similarity between the cases, both in terms of how long a period of time the unfair

practices extended over (years as opposed to months) as well as the suppression of evidence,

Anderson supports use of treble damages. The Court should therefore award Plaintiff between

two to three times the amount of the judgment of 14,196,427.04. That range is between



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$28,392,854 to $42,589,281.12. Whether this violates Due Process is not a consideration at this

time in determining whether between double to treble calculation.



                                                   Respectfully Submitted,
                                                   For the plaintiff,
                                                   By his attorney,

                                                   /s/ David J. Hoey
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       Dated: this 17th day of November, 2017




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                                    CERTIFICATE OF SERVICE


       I, David J. Hoey, hereby certify that I have this 17th day of November, 2017, served a
copy of the foregoing document, by causing a copy thereof, to be sent electronically, through the
ECF system, to the registered participants in this case, as identified on the Notice of Electronic
Filing
(NEF).

                                                    /s/ David J. Hoey______________
                                                    David J. Hoey




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